Case 2:O4-cr-20163-.]PI\/|-tmp Document 103 Filed 08/10/05 Page 1 of 2 Page|D 122

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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE \\; 19
wEs'rERN DIVISION 95 AUG m m

 

  
    
    

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TH{`)?»":P.B H. uUuLU
UNITED STATES oF AMERICA CMU‘% v §§ W`Um
WB}EEi*. TPAD

Plaintiff,
VS CR. NO. 04-20163-1\'1]_

VIRGIL TAB , JR.

~_,~_,`_,-/~__/-_/VVV

Defendant.

 

ORDER ON JURY VERDICT

 

This cause came on for trial on August 1, 2005, the United States Attorney
for this District, Terrell Harris, representing the Government, and the
defendant, Virgil Tab, Jr., appearing in person and with counsel, Javier Bailey.

Jurors were selected and sworn. After listening to opening statementsr all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on August 9, 2005,
and announced a verdict of GUILTY as to Counts 1, 2 and 3 of the Indictment.

Jurors were polled individually.

The SENTENCING HEARING is SET 01'1 WEDNES`.DAY, OCTOBER 26, 2005 at 9:00 A.M.
in Courtroom Number 4, 9th Floor, before Judge Jon Phipps McCalla.

Defendant was remanded to the custody of the United States Marshal.

ENTERED this the fs § day Of August, 2005.

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JON HIPPS MCCALLA
UNI D STATES DISTRICT JU'DGE

 

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Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Javier 1\/1. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

